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                                      IN THE
                           UNITED STATES DISTRICT COURT
                                     FOR THE
                           WESTERN DISTRICT OF VIRGINIA




  ELIZABETH SINES                                NOTICE
                                                 CASE NO.: 3:17CV00072
               v.

  JASON KESSLER, ET AL

  ______________________________________________________________________________

  TYPE OF CASE:
                          X CIVIL                  CRIMINAL
  ______________________________________________________________________________

  TYPE OF PROCEEDING:
                                  CONFERENCE CALL
     with plaintiff’s counsel, Mr. Mosley and Mr. Heimbach re: discovery issues
  ______________________________________________________________________________

  X   TAKE NOTICE that the proceeding in this case has been SCHEDULED as
      indicated below:
  ______________________________________________________________________________

  DATE:     February 8, 2019
  TIME:     1:00 P.M.

  DIAL IN NUMBER: _______________________________, CONFERENCE ID: _________

  *Please do not dial in more than 10 minutes prior to scheduled call
  _____________________________________________________________________________


                                            JULIA C. DUDLEY, CLERK OF COURT

  DATE: February 4, 2019                   By: s/ Karen Dotson
                                           DEPUTY CLERK


  To:   Hon. Moon
        Hon. Hoppe
        All counsel of record
        Mr. Mosley
        Mr. Heimbach
        File
